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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


JONATHAN R., et al.,

                              Plaintiffs,

v.                                                     CIVIL ACTION NO. 3:19-cv-00710

JIM JUSTICE, et al.,

                              Defendants.



                                                 ORDER


       Pending before the Court is Defendants Jim Justice, Bill Crouch, Jeremiah Samples, Linda

Watts, and the West Virginia Department of Health and Human Resources’ (collectively

“Defendants”) Motion to Dismiss Plaintiffs’ Complaint. (ECF No. 17.) For the reasons more

fully explained below, the Motion is GRANTED in part and DENIED in part.

                                            I.     BACKGROUND

       Plaintiffs are children in the West Virginia foster care system. (ECF No. 1 at 2, ¶ 2.)

They allege this system, as run by Defendants, is structurally inept, in violation of their

constitutional and statutory rights. (Id. at 6, ¶ 10.) Seeking system-wide reform, Plaintiffs

brought this putative class action on behalf of all children who are, or will be, placed in West

Virginia foster care. (See id.)

       Plaintiffs’ Complaint describes a legion of shortcomings in the foster care system. For

instance, Plaintiffs allege that the West Virginia Department of Health and Human Resources

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(“DHHR”) “lacks a sufficient number of foster care placements.” (Id. at 4, ¶ 9(a).) This, in turn,

leads to DHHR “segregate[ing] children in institutions,” placing some in temporary shelters for

indefinite stints of time, leaving others in “known abusive or neglectful homes,” or placing them

in poorly vetted and overcrowded foster homes. (Id. at 4, ¶ 9(b).) Among this slate of improper

placements, Plaintiffs allege DHHR has a go-to: institutions. (Id. at 4, ¶ 9(c).) Nearly three-

quarters of the children in DHHR custody between the ages of 12 and 17 are institutionalized.

(Id. at 3, ¶7.) Plaintiffs allege these institutions run “rampant [with] sexual, physical, and

emotional abuse,” (Id. at 69, ¶ 281), and are more akin to “youth corrections facilit[ies]” than foster

placements. (See e.g., id. at 33, ¶ 127.) Worse yet, Plaintiffs allege many of these institutions

are outside West Virginia, which all but isolates foster children from their families and

communities. (Id. at 69, ¶ 278.) Even when DHHR keeps foster children in-state, they are

routinely separated from their siblings, and DHHR fails to arrange any visitation or communication

between them. (Id. at 21–22, ¶ 71.) Plaintiffs further allege that all these placements, institutions

and foster homes alike, are unstable, and that DHHR oftentimes shuttles them from one placement

to another rather than securing them a permanent home. (Id. at 59–62, ¶¶ 244–55.)

       Staff shortages also plague the foster care system. DHHR, according to Plaintiffs, “fails

to employ and retain a sufficient number of appropriately trained caseworkers.” (Id. at 5, ¶ 9(f)).

This leaves caseworkers swamped with “unmanageable caseloads,” sometimes “two or three times

. . . the recommended standard.” (Id. at 71, ¶ 288.) DHHR unsurprisingly has an “alarmingly

high caseworker turnover” rate. (Id. at 72, ¶ 292.) Unfortunately, DHHR’s hiring practices only

make matters worse: it routinely fills vacancies with unqualified applicants that have no training

or education in social work. (Id. at 72, ¶ 293.) These shortcomings, Plaintiffs allege, have


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resulted in DHHR employing caseworkers that are “poorly trained [and] ill-equipped to help West

Virginian families.” (Id. at 70, ¶ 283.)

       Unqualified, overworked caseworkers lead to other deficiencies in West Virginia’s foster

care system. High caseloads prevent caseworkers from “timely assess[ing] [the needs of] children

entering the foster care system.” (Id. at 75, ¶ 308.) Without timely assessments, DHHR cannot

properly develop a foster child’s individualized case plan. (Id.) Caseworkers are often unable

to engage in meaningful visits with foster children, which further impedes case plan development.

(Id. at 76, ¶ 313.) Unsurprisingly, individualized case plans are sometimes never developed.

(Id.) DHHR then adds insult to injury by “fail[ing] to engage in necessary permanency planning

for [foster] children.” (Id. at 79, ¶ 328.) These failures, Plaintiffs allege, force foster children to

“languish in the foster care system for years.” (Id.)

       Similar shortcomings permeate the foster care system, further exacerbating an already

difficult situation. For example, a considerable number of foster children—Plaintiffs included—

have mental health disabilities, ranging from attention deficit hyperactivity disorder (“ADHD”) to

post-traumatic stress disorder (“PTSD”). (Id. at 78, ¶ 321.) Yet DHHR has failed to create

sufficient community or home-based mental health services to treat foster children;

institutionalization is the only option. (Id. at 78–79, ¶¶ 323–24.) DHHR does not provide certain

foster parents with much-needed services, such as financial assistance and training for how to raise

foster children with disabilities. (Id. at 62–67, ¶¶ 256–74.) When it comes time for a foster child

to age out of the system, DHHR all but abandons them—caseworkers “sometimes [wait until] as

late as weeks before a teen’s 18th birthday” to develop any sort of transitional plan for adulthood.




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(Id. at 83, ¶ 342.) Plaintiffs allege these last-minute efforts are futile, and foster children are

inevitably thrust “into either unstable situations or directly into homelessness.” (Id. at 82, ¶ 340.)

         Plaintiffs filed suit in this Court on September 30, 2019. (ECF No. 1.) The Complaint

proposes one General Class, consisting of all children who are will be in West Virginia foster care,

and three subclasses. (Id. at 10–11, ¶ 30.) The proposed Kinship Subclass consists of children

who are, will be, or have been placed in kinship placements. 1 (Id. at 10–11, ¶ 30(a)(i).) The

proposed ADA Subclass consists of children who have or will have physical, intellectual,

cognitive, or mental health disabilities. (Id. at 11, ¶ 30(a)(ii).) The proposed Aging Out Subclass

consists of children who are or will be 14 years old and older, who are eligible to receive age-

appropriate transition planning but have not been provided the necessary case management and

services. (Id. at 11, ¶ 30(a)(iii).)

         The Complaint includes five causes of action. First, the General class and each subclass

allege violations of their substantive due process rights under the Fourteenth Amendment. (Id. at

90–93, ¶¶ 368–74.) Second, each class asserts violations of their right to familial association

under the First, Ninth, and Fourteenth Amendments. (Id. at 93–94, ¶¶ 375–80.) Third, all classes

allege violations of the Adoption Assistance and Child Welfare Act of 1980 (“AACWA”). (Id.

at 94–96, ¶¶ 381–83.) Fourth, the ADA subclass alleges violations of the Americans with

Disabilities Act (“ADA”). (Id. at 96–98, ¶¶ 384–94.) Fifth, the ADA subclass asserts a claim

for violations of the Rehabilitation Act. (Id. at 98–99, ¶¶ 395–402.)



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  West Virginia law defines “kinship placement” as “the placement of the child with a relative of the child, as defined
herein, or a placement of a child with a fictive kin, as defined herein.” W. Va. Code § 49–1–206. Further, “relative
of the child” is defined as “an adult of at least 21 years of age who is related to the child, by blood or marriage, within
at least three degrees” and “fictive kin” is defined as “an adult of at least 21 years of age, who is not a relative of the
child, as defined herein, but who has an established, substantial relationship with the child, including but not limited
to, teachers, coaches, ministers, and parents, or family members of the child's friends.” Id.
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         Plaintiffs sued Defendants, Governor Jim Justice, then-Cabinet Secretary of the DHHR

Bill Crouch, Deputy Secretary of the DHHR Jeremiah Samples, Commissioner of the Bureau for

Children and Families Linda Watts, in their official capacity, as well as the DHHR. (Id. at 8–9, ¶

21–25.) Plaintiffs seek declaratory and injunctive relief against Defendants for the alleged

deficiencies in the foster care system they oversee. (Id. at 99–104, ¶ 403–08.) Boiled down,

Plaintiffs seek three things. First, a declaration that these systematic deficiencies are unlawful.

(Id. at 99–100, ¶ 404.) Second, injunctive relief that would require Defendants to overhaul the

West Virginia foster care system. (Id. at 100–03, ¶ 405.) Third, a court-appointed Monitor to

oversee Defendants’ compliance with the injunction. (Id. at 104, ¶ 406.)

         Defendants moved to dismiss the Complaint for failure to state a claim under Federal Rule

of Civil Procedure 12(b)(6). 2 (ECF No. 17.) The matter has since been fully briefed and is now

ripe for adjudication. (ECF Nos. 18, 29, 35, & 52.)

                                              II.      LEGAL STANDARD

         A motion to dismiss for failure to state a claim upon which relief may be granted tests the

legal sufficiency of a civil complaint. Fed. R. Civ. P. 12(b)(6). A plaintiff must allege sufficient

facts, which, if proven, would entitle him to relief under a cognizable legal claim. Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 554–55 (2007). A case should be dismissed if, viewing the well-

pleaded factual allegations in the complaint as true and in the light most favorable to the plaintiff,

the complaint does not contain “enough facts to state a claim to relief that is plausible on its face.”


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  In their motion, Defendants also moved to dismiss the case for lack of subject-matter jurisdiction under Rule
12(b)(1), arguing that abstention was appropriate under Younger v. Harris, 401 U.S. 37 (1971), or, alternatively, the
Rooker-Feldman doctrine. (ECF No. 18 at 4–14.) The Court previously granted this motion and abstained from
exercising jurisdiction under Younger. (ECF No. 258.) Plaintiffs appealed, and the Fourth Circuit reversed.
Jonathan R. by Dixon v. Justice, 41 F.4th 316 (4th Cir. 2022). In doing so, the Fourth Circuit held that both Younger
and Rooker-Feldman abstention were inapplicable. Id. at 339, 341. Now, on remand, the Court must turn to the
merits and determine whether Plaintiffs have stated a claim for relief.
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Id. at 570. In applying this standard, a court must utilize a two-pronged approach. First, it must

separate the legal conclusions in the complaint from the factual allegations. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Second, assuming the truth of only the factual allegations, the court

must determine whether the plaintiff’s complaint permits a reasonable inference that “the

defendant is liable for the misconduct alleged.”        Id.   Well-pleaded factual allegations are

required; labels, conclusions, and a “formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555; see also King v. Rubenstein, 825 F.3d 206, 214 (4th Cir.

2016) (“Bare legal conclusions ‘are not entitled to the assumption of truth’ and are insufficient to

state a claim.” (quoting Iqbal, 556 U.S. at 679)). A plaintiff’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level,” thereby “nudg[ing] [the] claims across

the line from conceivable to plausible.” Twombly, 550 U.S. at 555, 570.

                                           III.    DISCUSSION

       As stated above, Plaintiffs allege violations of their substantive due process rights, right to

familial association, AACWA, ADA, and Rehabilitation Act. Defendants urge the Court to

dismiss each for failure to state a claim. Against this backdrop, the Court turns to the task at hand.

       A. Count I – Substantive Due Process

       The Due Process Clause of the Fourteenth Amendment provides that “[n]o State shall . . .

deprive any person of life, liberty, or property, without due process of law.” U.S. CONST. amend.

XIV, § 1.     This Clause has two distinct components.          The first, procedural due process,

guarantees citizens “fair procedure[s]” before being deprived of life, liberty, or property. Collins

v. City of Harker Heights, 503 U.S. 115, 125 (1992). The second, substantive due process,

“provides heightened protection against government interference with certain fundamental rights


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and liberty interests.” Washington v. Glucksberg, 521 U.S. 702, 720 (1997); see also County of

Sacramento v. Lewis, 523 U.S. 833, 840 (1998) (The Due Process Clause “cover[s] a substantive

sphere as well, barring certain government actions regardless of the fairness of the procedures used

to implement them.” (internal quotation marks omitted)).

       The Due Process Clause typically functions “as a negative prohibition on state action.”

Pinder v. Johnson, 54 F.3d 1169, 1174 (4th Cir. 1995) (en banc). It serves, by and large, “as a

limitation on the State’s power to act,” thereby “prevent[ing] government from abusing [its] power,

or employing it as an instrument of oppression.” DeShaney v. Winnebago County Department of

Social Services, 489 U.S. 189, 195–96 (1989) (alteration in original) (internal quotation marks

omitted). Thus, the Due Process Clause ordinarily “does not require governmental actors to

affirmatively protect life, liberty, or property.” Pinder, 54 F.3d at 1174.

       But there are exceptions to this general rule. One exception exists when the government

takes an individual into government custody, thereby creating a custodial relationship between the

two. Id. at 1174–75. During this custodial relationship, substantive due process imposes an

affirmative duty on the government to care for the individual. Id. Plaintiffs allege Defendants

have failed to carry out this constitutional command. The affirmative duty to care for another is

best understood by reviewing the cases developing it. The Court will first discuss a trilogy of

Supreme Court opinions, and then look to Fourth Circuit precedent applying this affirmative duty

in the foster care context. Once this is done, the Court will analyze Plaintiffs’ claims.

       a. Governing Law

       The Supreme Court first found an affirmative duty to act in Estelle v. Gamble, 429 U.S. 97

(1976). In Estelle, the prisoner-plaintiff was working when a cotton bale fell, struck him, and


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injured his back. Id. at 99. Despite receiving medical attention for his injury, the plaintiff’s pain

never subsided.      Id. at 99–101.      He later sued, claiming he received inadequate medical

treatment, which subjected him to cruel and unusual punishment. 3 Id. at 101. When analyzing

his claim, the Court recognized that the government has an “obligation to provide medical care for

those whom it is punishing by incarceration.” Id. at 103. This affirmative duty exits because

“inmate[s] must rely on prison authorities to treat [their] medical needs; if the authorities fail to do

so, those needs will not be met.” Id. (emphasis added).

        The Court built on this reasoning in Youngberg v. Romeo, 457 U.S. 307 (1982), where it

outlined the substantive due process rights guaranteed to those involuntarily in state custody for

non-penal reasons. Romeo was 33-year-old man with an IQ of between 8 and 10. Id. at 309.

His mother was unable to care for him or control his violence, so she sought his institutionalization.

Id. She was successful, and Romeo was involuntarily committed to a mental institution. Id. at

310. Once there, “Romeo was injured on numerous occasions, both by his own violence and by

the reactions of other residents to him.” Id. The infirmary doctor then ordered that Romeo be

restrained to protect both himself and other patients. Id. at 310–11. Romeo’s mother challenged

his living conditions, arguing the institution “failed to [provide] appropriate preventive

procedures” and “appropriate treatment or programs for his mental retardation.” Id. (internal

quotation marks omitted). These failures, she claimed, violated her son’s substantive due process

rights. See id. at 311, 314–15, 316.

        The Court held that the state unquestionably owed citizens “wholly dependent” on it

several rights. Id. at 317. For instance, the state must “provide adequate food, shelter, clothing,


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 Notably, the prisoner-plaintiff brought a § 1983 action for an Eight Amendment violation, not substantive due
process. Id. at 101.
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and medical care,” as well as “reasonable safety [to] all residents.” Id. at 324. Those, it held,

were “the essentials.” Id. The Court further held that the state must provide some individuals

with training or habilitation when necessary to protect the individuals’ substantive due process

rights, such as their right to safety or freedom from bodily restraint. See id. Importantly,

however, states “necessarily ha[ve] considerable discretion in determining the nature and scope of

[their] responsibilities.” 4 Id. at 317. They need not “choose between attacking every aspect of a

problem or not attacking the problem at all.” Id.

        Then, in DeShaney v. Winnebago County Department of Social Services, 489 U.S. 189

(1989), the Court explained when this affirmative duty is triggered. In DeShaney, the county’s

department of social services (“DSS”) knew that Randy DeShaney was abusing his son, but it

failed to intervene. 5 Id. at 192. Randy finally beat his boy into a coma, and although the boy

survived, he was expected to live out the remainder of his days in an institution for the feeble

minded. Id. at 192–93. The boy’s mother filed suit against Winnebago County, DSS, and

various DSS employees, alleging they violated her son’s substantive due process right to protection

from a “risk of violence at his father’s hands,” about which they knew or shown have known. Id.

at 193. Specifically, the mother argued that, notwithstanding there generally being no duty to

protect, DSS stood in a “special relationship” to her boy because it knew of his danger. Id. at 197.

The Court rejected this argument because the boy was in his father’s custody, not the State’s, when



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  The Court held that when deciding whether training or habilitation should be provided, “courts must show deference
to the judgment exercised by a qualified professional.” Id. at 322. A decision made by a professional is thus
“presumptively valid” and will not be interfered with by courts unless “the decision by the professional is such a
substantial departure from accepted professional judgment, practice, or standards as to demonstrate that the person
responsible actually did not base the decision on such a judgment.” Id. at 323.
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  The boy had previously been hospitalized from what was suspected child abuse, and DSS had obtained a court order
granting temporary custody to the hospital. Id. at 192. However, the county determined there was insufficient
evidence of child abuse to retain custody, so the boy was returned to his father. Id.
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the harm occurred, and the State played no part in creating the danger. Id. at 201. In doing so,

the Court offered the following explanation for when—and why—this affirmative duty arises:

               Taken together, [Estelle and Youngberg] stand only for the proposition that
       when the State takes a person into its custody and holds him there against his will,
       the Constitution imposes upon it a corresponding duty to assume some
       responsibility for his safety and general well-being. The rationale for this principle
       is simple enough: when the State by the affirmative exercise of its power so
       restrains an individual's liberty that it renders him unable to care for himself, and at
       the same time fails to provide for his basic human needs—e.g., food, clothing,
       shelter, medical care, and reasonable safety—it transgresses the substantive limits
       on state action set by the Eighth Amendment and the Due Process Clause. The
       affirmative duty to protect arises not from the State's knowledge of the individual's
       predicament or from its expressions of intent to help him, but from the limitation
       which it has imposed on his freedom to act on his own behalf.

Id. at 199–200. (footnotes omitted) (internal citations omitted).

       The Fourth Circuit then applied DeShaney to the foster care context in Doe ex rel. Johnson

v. South Carolina Department of Social Services, 597 F.3d 163 (4th Cir. 2010). There, state social

workers removed two siblings, Jane and Kameron, from their home after receiving reports of

sexual abuse. Id. at 166. Once in state custody, the social worker placed Jane in a foster home

with Kameron, despite knowing Kameron had sexually abused Jane. Id. at 166–68. This sexual

abuse continued in foster care. Id. at 168. Jane’s adoptive parents sued on her behalf, arguing

that the social worker violated Jane’s substantive due process rights by placing her in a foster home

the social worker knew was dangerous. Id. The Court agreed. Id. at 175. It reasoned that “the

state ha[d] taken [the] affirmative act” of “involuntarily remov[ing] [Jane] from her home,”

thereby restraining her liberty. Id. at 175. This affirmative act triggered substantive due process

protections and thus imposed “some responsibility for [Jane’s] safety and general well-being.” Id.

(internal quotation marks omitted) (quoting DeShaney, 489 U.S at 200). Children involuntarily

placed in foster care therefore enjoy those substantive due process rights guaranteed by Youngberg

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and DeShaney. Id. Before concluding, the Fourth Circuit also held that state actors cannot be

deliberately indifferent these substantive due process rights. Id.

       b. Plaintiffs’ Claims

       The proposed General Class and every subclass assert various substantive due process

rights, all of which they allege Defendants have violated. The General Class asserts the following

seven substantive due process rights: (1) the right to freedom from maltreatment and repeated

maltreatment, while under the protective supervision of the State; (2) the right to protection from

unnecessary intrusions into the child’s emotional wellbeing once the State has established a special

relationship with that child; (3) the right to services necessary to prevent an unreasonable risk of

harm; (4) the right to conditions and duration of foster care reasonably related to the purpose of

government custody; (5) the right to treatment and care consistent with the purpose and

assumptions of government custody; (6) the right not to be maintained in custody longer than is

necessary to accomplish the purpose to be served by taking a child into government custody; and

(7) the right to services in the least restrictive, most family-like setting. (ECF. No. 1 at 91–92, ¶

373(a)–(g)).

       The proposed Kinship Subclass asserts the following three substantive due process rights:

(1) the right to placement in the least-restrictive most family-like setting that is properly assessed

to determine whether it is a safe and appropriate placement; (2) the right to supportive and case

management services to ensure placement stability and ensure the child is free from harm; and (3)

the right to a plan and corresponding services for a permanent home. (Id. at 92, ¶ 374(a)(i)–(iii)).

       The proposed ADA Subclass claims four substantive due process rights: (1) the right to be

free from discrimination by reason of disability; (2) the right to services in the most integrated


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setting appropriate to the person’s needs; (3) the right to be free from unnecessary

institutionalization and to be placed in the least restrictive setting; and (4) the right to ensure access

to an array of community-based placements and services to ensure access to the least restrictive

alternative. (Id. at 92–93, ¶ 374(b)(i)–(iv)).

        The proposed Aging Out Subclass claims three substantive due process rights: (1) the right

to independent living services to prepare to exit foster care successfully including, but not limited

to, vocational and other educational services; money management, household maintenance,

transportation, legal issues, health, community resources, housing options, personal hygiene,

employment readiness, and educational assistance; (2) the right to assistance to find lawful,

suitable permanent housing that will not result in homelessness upon exit from foster care; and (3)

the right to a connection with an adult resource who will maintain a stable, long-term relationship

with the child after he or she ages out of the system. (Id. at 93, ¶ 374(c)(i)–(iii)).

        c. Analysis

        Defendants take issue with most of Plaintiffs’ substantive due process claims. Although

Defendants concede that they owe Plaintiffs the “basic human needs” that Youngberg and

DeShaney demand, they argue nothing is owed beyond that. (ECF No. 18 at 16.) Defendants

maintain that Plaintiffs are trying to take the “aspirational statutory, regulatory, and private

standards” applicable to the West Virginia foster care system and “convert each of them [in]to

constitutional requirements.” (Id. at 14) (quoting Connor B. ex rel. Vigurs v. Patrick, 774 F.3d

45, 55 (1st Cir. 2014)). Plaintiffs, however, counter that they do not seek “an aspirational child

welfare system, but merely a constitutionally adequate one.” (ECF No. 29 at 17–18) (internal

quotation marks and citation omitted.) Plaintiffs believe Defendants are pulling a slight of hand,


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using precedent to “convert the floor of constitutional protection into its ceiling.” (Id. at 21.)

With these arguments in mind, the Court must now parse through each asserted substantive right,

testing the legal basis for each.

    i.      General Class

         Looking first at the proposed General Class, Defendants do not dispute that the Due Process

Clause requires them to protect against maltreatment and repeated maltreatment. (See ECF No.

18 at 18 n.8.) Instead, Defendants argue that Plaintiffs have not adequately alleged Defendants’

deliberate indifference to this duty. (Id. at 18–19.) The Court disagrees. Plaintiffs’ Complaint

adequately alleges that Defendants have placed Plaintiffs in placements known to be dangerous.

For example, Plaintiffs allege that Defendants placed Anastasia M., an 11-year-old girl, in a facility

with a history of child molestation, sexual battery, and sexual assault by patients and employees

alike. (ECF No. 1 at 20, ¶ 63.) Plaintiffs further allege that Defendants placed a then-12-year-

old Garrett M. in “an institutional residential placement for male sex offenders.” (Id. at 29–30, ¶

111.) Garrett is not a sex offender, nor has he ever been charged with a sex offense. (Id. at 30,

¶ 115.) Nevertheless, Defendants placed 12-year-old Garrett among sex offenders, many of

whom were 15 years of age and older. (Id. at 29–30, ¶ 111.) These claims adequately allege that

Defendants turned a blind eye to a known danger that Plaintiffs would be mistreated and abused

while in State custody. Doe, 597 F.3d at 176 (“[S]tate officials responsible for [placement]

decisions ha[ve] a corresponding duty to refrain from placing [children] in a known, dangerous

environment in deliberate indifference to [their] right to personal safety and security.”).

         Defendants next seek dismissal of Plaintiffs claim for the right to protection from

unnecessary intrusions into the child’s emotional wellbeing while in State custody. The Court


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declines to do so. As outlined above, the Due Process Clause requires Defendants to protect foster

children’s well-being. See, e.g., DeShaney, 489 U.S. at 200; Doe, 597 F.3d at 175. The only

issue here is whether this duty extends to protecting a foster child’s emotional well-being. The

Court believes it does. As another district court aptly put it, this “conclusion is grounded in

common sense.” B.H. v. Johnson, 715 F. Supp. 1387, 1395 (N.D. Ill. 1989). Children’s physical

and emotional well-being are equally important. Id. Although physical injuries mend, emotional

trauma inflicted during a child’s tender years has “an indelible effect” from which they may never

recover. Id. It would be an odd result for the Fourteenth Amendment to require Defendants to

protect against possible short-term injuries, while at the same time providing no protection against

lifelong harm. This is hardly a novel idea, and the Court readily accepts it. See e.g., M.D. by

Stukenberg v. Abbott, 907 F.3d 237, 250 (5th Cir. 2018) (holding that substantive due process

ensures the right “to be free from severe psychological abuse and emotional trauma”) (emphasis

in original); Wyatt B. by McAllister v. Brown, No. 6:19-cv-00556, 2021 WL 4434011, at *8 (D.

Or. Sept. 27, 2021); Connor B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142, 161 (D. Mass. 2011);

Marisol A. by Forbes v. Giuliani, 929 F. Supp. 662, 675 (S.D.N.Y. 1996); B.H., 715 F. Supp. at

1395.

        Defendants next take aim at Plaintiffs’ third claimed right—the right to services necessary

to prevent unreasonable risk of harm. Like the right to prevent maltreatment, Defendants concede

this right “arguably relate[s] to the basic human need of physical safety,” but contend Plaintiffs

have not plead deliberate indifference to the right. (ECF No. at 18 n.8) (internal quotation marks

omitted). The Court rejects, at this juncture, Defendants’ position that Plaintiffs have failed to

allege deliberate indifference here. The Complaint includes a host of allegations that Plaintiffs


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have not been provided the services necessary to ensure their reasonable safety. (See e.g., ECF

No. 1, at 17, 21, ¶¶ 52, 70.) For example, Plaintiffs allege that Defendants do not conduct

background checks on potential foster parents before placing children in their care; Plaintiffs also

allege that Defendants do not always inspect foster homes before placing Plaintiffs in them. (Id.)

Taking these allegations as true, which the Court must at the pleading stage, one could reasonably

infer that Defendants were deliberately indifferent to Plaintiffs’ rights. Iqbal, 556 U.S. at 678.

       Next, the Court addresses two overlapping rights: the right to conditions and duration of

foster care reasonably related to the purpose of government custody, and the right not to be

maintained in custody longer than is necessary to accomplish the purpose to be served by taking a

child into government custody. Defendants assert that, although these rights are “sound policy,”

they are “not constitutionally mandated.” (ECF No. 18 at 17.) The Court disagrees. In Jackson

v. Indiana, 406 U.S. 715 (1972), the Supreme Court said that “due process requires that the nature

and duration of [custody] bear some reasonable relation to the purpose for which the individual is

[in custody].” Id. at 738 (emphasis added). Plaintiffs are in Defendants’ custody largely because

they have been abused or neglected by their parents. These terrible conditions justify Defendants

“intru[ding] on [the] family relationships” that are “ranked as of basic importance in our society.”

M.L.B. v. S.L.J., 519 U.S. 102, 116 (1996) (internal quotation marks omitted) (quoting Boddie v.

Connecticut, 401 U.S. 371, 376 (1971). Once these conditions cease, so do the justifications for

removal.

       The Court now turns to the right to treatment and care consistent with the purpose and

assumptions of government custody. Once more, Defendants urge the Court to dismiss this claim,

believing it is a matter of state policy, not constitutional law. (ECF No. 18 at 16–17.) Jackson,


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and Doe say otherwise. As previously discussed, substantive due process requires that the nature

of custody reasonably relate to its purpose. Jackson, 406 U.S. at 738. Here, Plaintiffs are in

Defendants’ custody because Defendants sought to prevent Plaintiffs’ abuse and neglect. Due

process imposes a corresponding duty on Defendants to ensure that Plaintiffs are neither abused

nor neglected while in their custody. Doe confirms this: “when a state involuntarily removes a

child from her home” to prevent abuse and neglect,” due process imposes “some responsibility for

[the child's] safety and general well-being.’” Doe, 597 U.S. at 175 (alteration in original) (quoting

DeShaney, 489 U.S. at 200). The Court notes, however, that substantive due process does not

demand optimal treatment, Charlie H. v. Whitman, 83 F. Supp. 2d 476, 507 (D.N.J. 2000), and the

State need not “choose between attacking every aspect of a problem or not attacking the problem

at all.” Youngberg, 457 U.S. at 317. Defendants need only provide for Plaintiffs’ basic human

needs and prevent further abuse and neglect.           Thus, to the extent Plaintiffs have alleged

Defendants failed to uphold this constitutional duty, they have stated a claim for relief.

       Finally, the Court addresses the General Class’s last asserted right: the right to services in

the least restrictive, most family-like setting. The Court is unconvinced that substantive due

process goes this far. Plaintiffs’ fail to cite a single case where any court has stretched substantive

due process this far. The Court is unsurprised that no court has found this right since Youngberg

and DeShaney merely impose a duty to provide for an individual’s basic human needs. Plaintiffs

claim that limiting substantive due process protections to their basic human needs—as Youngberg

and DeShaney instruct—is “regressive” and “outdated.” (ECF No. 29 at 17.) However, that is

the law as it exists today, and the Court declines to “turn[] any fresh furrows in the ‘treacherous

field’ of substantive due process.” Troxel v. Granville, 530 U.S. 57, 76 (2000) (Souter., J.,


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concurring in the judgment) (quoting Moore v. City of E. Cleveland, 431 U.S. 494, 502 (1977)

(opinion of Powell J.)).

   ii.      Kinship Subclass

         The Court now turns to the proposed Kinship subclass, beginning with their second

asserted right. Substantive due process, according to this Subclass, guarantees them the right to

supportive and case management services to ensure placement stability and ensure the child is free

from harm. As noted above, due process requires Defendants to provide for foster children’s

reasonable safety. Doe, 597 F.3d at 175. This, in turn, requires Defendants to implement the

services necessary to ensure that the Subclass is free from harm. However, substantive due

process goes no further. It simply does not provide a right to stability while in foster care.

Abbott, 907 F.3d at 268; Eric L. By and Through Schierberl v. Bird, 848 F. Supp 303, 307 (D.N.H.

1994) (finding that “[t]he complaint pleads no facts tending to establish that [social services’]

placement of children with successive foster parents is so devoid of justification as to give rise to

a substantive violation of the Due Process Clause.”).

         The first and third rights claimed by this Subclass have no basis in substantive due process.

The Court has previously explained that substantive due process does not protect the right to the

least-restrictive, most family-like setting available while in foster care; the conditions of foster

care need only to relate to its purpose. Jackson, 406 U.S. at 738. Similarly, substantive due

process does not require Defendants to do more than provide for foster children’s basic human

needs. DeShaney, 489 U.S. at 200. While it would certainly be sound policy for Defendants to

adopt, that is a matter for West Virginia’s elected officials to address, not the federal judiciary.

Accord Connor B., 774 F.3d at 48.


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   iii.      ADA Subclass

          The Court can dispose of the proposed ADA subclass’ claims in short order. First, there

is no substantive due process right to be free from discrimination by reason of disability. That

right is protected by the ADA, not the Fourteenth Amendment. See generally 42 U.S.C. § 12101,

et seq. As DeShaney explained, not “every [statutory violation] committed by a state actor [is] a

constitutional violation.” DeShaney, 489 U.S. at 202. Second, there is no right to services in the

most integrated setting appropriate to the person’s needs. Jackson, 406 U.S. at 738; Wyatt B.,

2021 WL 4434011, at *8–9.          Third, the Fourteenth Amendment does not protect against

unnecessary institutionalization, nor does it guarantee placement in the least restrictive setting.

Wyatt B., 2021 WL 4434011, at *8–9. That, too, is a claim cognizable under the ADA rather than

substantive due process. Compare Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581 (1999), with

Youngberg, 457 U.S. 307 (1982). Fourth, “the right to ensure access to an array of community-

based placements and services to ensure access to the least restrictive alternative” is a far cry from

the basic human needs DeShaney requires. Substantive due process does not extend this far.

   iv.       Aging Out Subclass

          Substantive due process also does not protect any of the rights claimed by the proposed

Aging Out subclass. Although the services they seek “would obviously . . . benefit . . . the

child[ren] and . . . society,” Wyatt B., 2021 WL 4434011, at *9, not every laudable goal is enshrined

in the Fourteenth Amendment. Each proposed right instead goes well beyond DeShaney, and the

Court declines to wander into that uncharted territory. This decision comes not from a lack of

compassion for Plaintiffs, but instead from a mindfulness that each time the Court “break[s] new

ground in this [area of substantive due process],” it strips the West Virginia Legislature of its


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ability to decide the matter on behalf of the people of West Virginia. Glucksberg, 521 U.S. at

720.   Cognizant that “the Due Process Clause does not empower the judiciary to sit as a

superlegislature,” Exxon Corp. v. Governor of Md., 437 U.S. 117, 124 (1978) (internal quotation

marks omitted) (quoting Ferguson v. Skrupa, 372 U.S. 726, 731 (1963)), the Court faithfully

applies precedent to reach this conclusion. For these reasons, Defendants’ Motion to Dismiss

Count I is GRANTED in part and DENIED in part.

       B. Count II – Familial Association

       The Court now turns to Count II, wherein Plaintiffs allege Defendants violated their right

to familial association under the First, Ninth, and Fourteenth Amendments. The Court will first

review each amendment and pertinent case law before analyzing Plaintiffs’ claims.

   a. Governing Law

       i.      Fourteenth Amendment

       The Supreme Court first recognized that the Fourteenth Amendment’s Due Process Clause

protects the family unit a century ago. Meyer v. Nebraska, 262 U.S. 390, 399 (1923) (finding the

Fourteenth Amendment guarantees the right “to marry, establish a home and bring up children.”).

The Court has since created a “private realm of family life which the state cannot enter.” Prince

v. Massachusetts, 321 U.S. 158, 166 (1944). In these cases, the Court has applied substantive due

process to stave off government interference in two aspects of family life: the parent-child

relationship, Santosky v. Kramer, 455 U.S. 745 (1982), and particularly intimate family decisions,

such as marriage and childbearing. See e.g., Cleveland Bd. of Educ. v. LaFleur, 414 U.S. 632

(1974); Loving v. Virginia, 388 U.S.1 (1967).

       The lone instance where the Court applied substantive due process beyond these two


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categories was in Moore v. City of East Cleveland, 431 U.S. 494 (1977) (plurality opinion), where

it held that family members may live together free from undue government interference. 6 There,

the city enacted an ordinance restricting many homes to single-family use. Id. at 495–96. The

ordinance included a narrow definition of “family,” however, which criminalized a grandmother

and grandchild living together. Id. at 496–97. Outlawing the grandmother’s decision to live with

her grandson was “no mere incidental result of the ordinance.” Id. at 498. Instead, the city

intended to “regulate the occupancy of” households, deciding for itself “who may live together

and [who] may not.” Id. at 498–99. The Court struck down the ordinance as an “intrusive

regulation” that “slic[ed] deep[] into the family itself.” Id. at 498. Substantive due process

prevents the government from regulating family living arrangements, the Court explained, because

“this Nation[] [has a long] history and tradition” of extended kin “sharing a household” and “major

responsibilit[ies] for the rearing of . . . children.” Id. at 503–05. In light of this tradition, the

Court found that extended family have a constitutional right to reside together. Id. at 504. While

the Court acknowledged “the family is not beyond regulation,” the city had no compelling interest

that justified the ordinance. Id. at 499–500.

         ii.     First Amendment

         The First Amendment prohibits the government from “abridging the freedom of speech, or

of the press; or the right of the people peaceably to assemble, and to petition the Government for


6
  Justice Powell, joined by three other Justices, authored the lead opinion. Moore, 431 U.S. at 495. Justice Stevens
concurred in the judgment but on somewhat different grounds. He reasoned that the States cannot constitutionally
interfere with a residential property owner’s right “to determine the internal composition of his household,” unless
done to ensure that those homes “remain nontransient, single-housekeeping units.” Id. at 518–19 (Stevens, J.,
concurring in the judgment). In other words, Justice Stevens would extend the constitutional right to cohabitate to
unrelated individuals, so long as there was no “transient occupancy.” Id. at 516–19. Seeing how Justice Powell’s
opinion is the narrower of the two, it must be treated as controlling. A.T. Massey Coal Co. v. Massanari, 305 F.3d
226, 236 (4th Cir. 2002) (“[W]hen a decision of the [Supreme] Court lacks a majority opinion, the opinion of the
Justices concurring in the judgment on the “narrowest grounds” is to be regarded as the Court's holding.”).
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a redress of grievances.” U.S. CONST. amend. I. The Supreme Court has “long understood as

implicit” in these First Amendment guarantees “a corresponding right to associate with others.”

Ams. For Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2382 (2021) (quoting Roberts v. U.S.

Jaycees, 468 U.S. 609, 622 (1984)).

        In Roberts v. United States Jaycees, 468 U.S. 609 (1984), the Court recognized that this

right to association includes the right to intimate, or familial, association. There, the Jaycees, a

non-profit organization, limited full-fledged membership to men. Id. at 613. A state statute,

however, required the Jaycees to provide women equal membership. Id. at 614–15. The Jaycees

challenged the statute, arguing that requiring women’s equal membership violated its members’

First Amendment right to freedom of association. Id. at 615.

        When analyzing this intimate association claim, the Court explained that the First

Amendment protects “certain kinds of highly personal relationships” because “individuals draw

much of their emotional enrichment from close ties with others.” Id. at 618–19. The Court

looked to its substantive due process cases, such as Moore and Loving v. Virginia, 388 U.S. 1

(1967), for examples of intimate relationships worthy of “constitutional shelter.” Id. at 618–20.

From these intimate relationships, the Court found a common thread: each “attend[ed] the creation

and sustenance of a family,” such as marriage, childbirth, raising children, and living with

relatives. Id. at 619. These constitutionally protected relationships differ from others, the Court

reasoned, because they “are distinguished by such attributes as relative smallness, a high degree

of selectivity in decisions to begin and maintain the affiliation, and seclusion from others in critical

aspects of the relationship.” Id. at 619–20. However, the Court cautioned against extending

protection to other relationships, saying that its substantive due process cases “suggest[ed] some


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relevant limitations” on First Amendment protection. Id. at 619. As for the Jaycees, they lacked

many of these traits. They were “large and basically unselective.” Id. at 621.         The Jaycees

were also anything but intimate and secluded—in fact, “much of the activity central to the

formation and maintenance of the [Jaycees] involve[d] the participation of strangers.” Id.

          iii.   Ninth Amendment

          “The enumeration in the Constitution, of certain rights, shall not be construed to deny or

disparage others retained by the people.” U.S. CONST. amend. IX. The Framers adopted the

Ninth Amendment because they “believed that there are additional fundamental rights . . . which

exist alongside those fundamental rights specifically mentioned” in the Bill of Rights. Griswold

v. Connecticut, 381 U.S. 479, 488 (1965) (Goldberg, J., concurring). The Ninth Amendment thus

stands for a simple proposition—the first eight amendments are a non-exhaustive list of

constitutionally protected rights. Id. at 490. Importantly, however, the Ninth Amendment does

not confer any individual rights. See id. at 493. It merely “lends strong support to the view that”

individual liberty, as protected by the Fourteenth Amendment, “is not restricted to rights

specifically mentioned in the first eight amendments.” Id.

   b. Analysis

          Having now reviewed the First, Ninth, and Fourteenth Amendments, the Court can glean

a few principles from each. First, the Ninth Amendment does not confer a right to familial

association; it simply provides that the right may exist alongside those included in the Bill of

Rights.      Second, the First and Fourteenth Amendments each protect the right to familial

association, and the two seemingly complement one another. Roberts’ reliance on the Court’s

Fourteenth Amendment cases when describing the First Amendment doctrine proves that the two


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are one and the same. See Roberts, 468 U.S. at 619–20 (citing Loving v. Virginia, 388 U.S. 1

(1967), for the proposition that the First Amendment “imposes constraints on the State's power to

control the selection of one's spouse.”). Put differently, those familial relationships worthy of

substantive due process protection always have the distinguishing attributes Roberts found worthy

of First Amendment protection. Third, not every government action that interferes with the

family is unconstitutional. The government may, in certain circumstances, have a sufficiently

compelling interest, such that the intrusion is not “undue” in the constitutional sense. Roberts,

468 U.S. at 617–18; see also Moore, 431 U.S. at 499. With these principals in mind, the Court

now turns to Plaintiffs’ allegations.

          Plaintiffs allege that Defendants have violated their right to familial association “[b]y

failing to take all reasonable efforts towards fostering familial association and securing [them] a

permanent home and family.” (ECF No. 1 at 94, ¶ 379.) Plaintiffs further allege that Defendants

have “systematically and improperly intruded upon” their “‘intimate human relationships’ with

their parents, siblings, and other family members.” (ECF No. 29 at 25.) Defendants concede

that the constitution “may protect some aspects of the parent-child relationship,” but contend those

protections do not apply “to more extended kinship relationships.”           (ECF No. 18 at 21.)

Defendants also argue that the constitution does not require them “to ensure a particular type of

family life,” nor does it guarantee the “right to a permanent home and family.” (Id.) The Court

agrees.

          For starters, nothing in the First or Fourteenth Amendments require Defendants to nurture

Plaintiffs’ familial relationships. Marisol A., 929 F. Supp. at 676 (“[C]ourts . . . have been loathe

to impose a constitutional obligation on the state to ensure a particular type of family life.”).


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These Amendments instead work as negative prohibitions on the government, providing

“constitutional shelter” “against undue intrusion by the State.” Roberts, 468 U.S. at 617–18, 619.

Plaintiffs resist this conclusion with an implicit reliance on DeShaney. Specifically, Plaintiffs

argue that Defendants have “remov[ed] [Plaintiffs] from their homes,” “thereby forming a ‘special

relationship’ with [Plaintiffs].” (ECF No. 29 at 26.) Because of this “special relationship,”

Plaintiffs believe they are constitutionally entitled to services that “foster[] [their] familial

association” and “secur[e] [them] a permanent home and family.” (ECF No. 1 at 94, ¶ 379.)

Negative prohibitions on state action afford no such entitlement. 7 Neither the Supreme Court nor

the Fourth Circuit have broached—much less recognized—this affirmative duty. The Court

declines to do so today.

         Plaintiffs have also failed to allege that Defendants improperly intruded on their parent-

child relationships. To be clear, “[t]he bonds between parent and child are, in a word, sacrosanct,

and the relationship between parent and child inviolable except for the most compelling reasons.”

Jordan by Jordan v. Jackson, 15 F.3d 333, 343 (4th Cir. 1994). The Supreme Court has said,

however, that States’ “parens patriae interest in preserving and promoting the welfare of the child”

is a sufficiently compelling reason to justify State interference. Santosky v. Kramer, 455 U.S.

745, 766 (1982). Such is the case here. Defendants, acting according to state law, properly

removed Plaintiffs from their parents’ care to prevent further abuse and neglect. Plaintiffs do not

contend otherwise, so the Court is left with the inevitable conclusion that their removal was




7
  Even if DeShaney did impose some affirmative duty on Defendants—a proposition the Court seriously doubts—
Youngberg makes clear that Defendants need not “choose between attacking every aspect of a problem or not attacking
the problem at all.” Youngberg, 457 U.S. at 317. Thus, Defendant’s decision to remove a child to prevent abuse
and neglect would not create a corresponding constitutional duty to ensure that the child is later provided a permanent
home.
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constitutional. The only lingering issue then is whether Defendants have “improperly intruded

upon” “Plaintiffs’ ‘intimate human relationships’ with their parents” post-removal. (ECF No. 29

at 25.) Interestingly enough, not a single Plaintiff wishes to be placed back in their parents’

custody. The 105-page Complaint is entirely devoid of a single allegation that any Plaintiff was

ever denied contact with, or access to, their parents. Plaintiffs have thus failed to allege a violation

of their right to familial association with their parents.

         Nor have Plaintiffs adequately alleged that Defendants violated their right to familial

association with their siblings.         Plaintiffs make a compassionate argument that Defendants

unnecessarily separate Plaintiffs from their siblings, oftentimes failing to arrange any visitation or

communication between them. (ECF No. 1 at 21–22, ¶ 71.) Unfortunately for Plaintiffs, the

constitution does not, in the foster care context, protect the sibling-sibling relationship. While

mapping out the boundaries of the “constitutional shelter” afforded to “certain intimate . . .

relationships,” the Roberts Court said that its precedent “suggest[s] some relevant limitations on”

the right. Roberts, 468 U.S. at 617, 619. And that precedent does not extend to the relationship

between siblings. Nearly all the cases Roberts cited, many of which were substantive due process

cases, involved relationships far more intimate than that between siblings—namely, marriage and

the parent-child relationship. Id. at 618–20 (collecting cases). The lone case Roberts cited that

went further was Moore, which simply allowed a grandmother to live with her grandson because

grandparents—much like parents—have traditionally played a vital role in childrearing. Moore,

431 U.S. at 504–05. The Court thinks Moore is too thin a reed to justify extending constitutional

protection beyond its current, fixed boundaries. 8


8
  While Roberts did provide factors to consider when determining whether to extend First Amendment protection to
different relationships, Roberts, 468 U.S. at 619–20, the Court is unconvinced that the sibling-sibling relationship
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         Even if the Constitution did generally protect the relationship between siblings, that

protection would not apply in the foster care context. Roberts and Moore both recognized that

states may have a sufficiently compelling interest that justifies interference with familial

relationships. Roberts, 468 U.S. at 617–18; Moore, 431 U.S. at 499. Here, West Virginia has a

compelling parens patriae interest in preventing Plaintiffs’ abuse and neglect. Lassiter v. Dep’t

of Soc. Servs. of Durham Cnty., 452 U.S. 18, 27 (1981) (“State[s] ha[ve] an urgent interest in the

welfare of the[ir] child[ren].”); Stanley v. Illinois, 405 U.S. 645, 649 (1972) (“The State[] [has a]

right—indeed, duty—to protect [its] minor children.”). West Virginia’s compelling interest in

protecting Plaintiffs’ well-being thus justifies any disruption to Plaintiffs’ relationships with their

siblings. In other words, even if the constitution did apply to the sibling-sibling relationship,

intruding on that relationship in the foster care context would not be “undue” given the State’s

compelling, countervailing interest. Roberts, 468 U.S. at 617–18; Moore, 431 U.S. at 499.

         Finally, Plaintiffs’ claim for interference with their grandparent-grandchild relationships is

foreclosed by Troxel v. Granville, 530 U.S. 57 (2000) (plurality opinion). In Troxel, a mother

sought to limit visitation time between her children and their paternal grandparents. Id. at 60–61.

When the grandparents petitioned for more visitation time than the mother permitted, the Court

squarely rejected their efforts to override the mother’s decision. Id. at 61, 72. The Court, citing

Pierce, explained that “parents and guardians” of young children have a constitutional right “to

direct the upbringing . . . of children under their control.” Id. at 65 (emphasis added). This



meets this criteria. Siblings certainly have “deep attachments” to one another, but they lack other critical attributes
Roberts found necessary for constitutional protection. For instance, siblings are not secluded from others in critical
aspects of their relationship in the same way as spouses, nor do they share distinctively personal aspects of their lives
as a parent does with their child. Roberts explained that only certain intimate relationships receive constitutional
protection, and the Court is unpersuaded that the sibling-sibling relationship is sufficiently similar to those the
Supreme Court has previously protected. Roberts, 468 U.S. at 617–18.
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includes the right “to make decisions concerning the care, custody, and control of their children.”

Id. at 66. In light of this well-established precedent, the Court concluded that the grandparents

had no right to challenge the mother’s decision.      Id. at 69–70.

       Troxel is persuasive, if not controlling. Plaintiffs’ biological parents would typically be

the ones to decide every aspect of Plaintiffs’ relationships with their grandparents. Everything

from whether Plaintiffs would live with their grandparents—or have no communication at all—

would normally be their parents’ decision alone. But their parental rights have been judicially

terminated, and Defendants have stepped into their shoes as Plaintiffs’ legal guardians.

Defendants thus have “the right, coupled with the high duty,” to nurture Plaintiffs and “direct

the[ir] upbringing.” Troxel, 530 U.S. at 65 (quoting Pierce, 268 U.S. at 535). This includes the

right to restrict contact with their grandparents. Make no bones about it, however—cutting off all

contact between foster children and their grandparents during this low point in their young lives is

unfathomable. But it is not unconstitutional. The Court GRANTS Defendants’ Motion to

Dismiss Count II.

       C. Count III – Adoption Assistance and Child Welfare Act

       In Count III, Plaintiffs bring a § 1983 claim, alleging Defendants violated the Adoption

Assistance and Child Welfare Act (“AACWA”). “Section 1983 imposes liability on anyone who,

under color of state law, deprives a person of any rights, privileges, or immunities secured by the

Constitution and laws.” Blessing v. Freestone, 520 U.S. 329, 340 (1997) (internal quotation

marks omitted).     Importantly, litigants invoking § 1983 “must assert the violation of a

federal right, not merely a violation of federal law.” Id. (emphasis in original). This distinction

gives rise to the parties’ next disagreement: Plaintiffs allege Defendants violated their rights under


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certain sections of the AACWA; Defendants counter that those sections do not confer privately

enforceable rights.

       a. An Overview of the AACWA

        Enacted pursuant to the Spending Clause, the AACWA created “a federal reimbursement

program for certain expenses incurred by the States in administering foster care and adoption

services.” Suter v. Artist M., 503 U.S. 347, 350–51, 356 (1992). States become eligible for

reimbursement by satisfying certain requirements. As relevant here, States must submit to the

Secretary of Health and Human Services a plan for foster care and adoption assistance. 42 U.S.C.

§ 671(a). This plan must include 16 different features before the Secretary will approve it. Id.

Plaintiffs’ claim focuses on two. First, § 671(a)(10) requires the plan to

       establish[] and maintain[] standards for foster family homes and child care
       institutions which are reasonably in accord with recommended standards of
       national organizations concerned with standards for the institutions or homes,
       including standards related to admission policies, safety, sanitation, and protection
       of civil rights, and which shall permit use of the reasonable and prudent parenting
       standard.

Second, § 671(a)(16) requires the plan to

       provide[] for the development of a case plan (as defined in section 675(1) of this
       title and in accordance with the requirements of section 675a of this title) for
       each child receiving foster care maintenance payments under the State plan and
       provides for a case review system which meets the requirements described in
       sections 675(5) and 675a of this title with respect to each such child.

The cross-references in § 671(a)(16) are definitional, none of which are particularly relevant to the

current dispute. Section 675(1) defines “case plan,” § 675(5) defines “case review system,” and

§ 675a further defines the requirements for case plans and case review systems.

       The State is not home free once the Secretary approves its plan. Following approval, the

Secretary continues to monitor the State’s compliance with § 671(a). 42 U.S.C. § 1320a-2a.

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Should the Secretary find that the State is not upholding its end of the bargain, he must withhold

funding. Id.; 45 C.F.R. §§ 1355.35(c)(4), 1355.36(b). Importantly, the State is not required to

be perfect; it need only “substantial[ly] conform[]” to § 671(a)’s requirements. 42 U.S.C. §

1320a-2a.

       b. Fourth Circuit Precedent

       The Fourth Circuit has previously considered whether § 671(a)(10) and § 671(a)(16) create

privately enforceable rights, so the Court finds it best to begin there.

       i.      Section 671(a)(10)

       The Fourth Circuit addressed § 671(a)(10) in White by White v. Chambliss, 112 F.3d 731

(4th Cir. 1997). There, a mother was suspected of child abuse, so the Department of Social

Services (“DSS”) took her children into protective custody. White, 112 F.3d at 734. Once in

protective custody, DSS placed the children in various foster homes. Id. One placement proved

tragic—the child died at the hands of her foster parents. Id. at 735. The mother sued DSS

officials, claiming they violated her daughter’s “right to protection” under § 671(a)(10). Id. at

738. The Fourth Circuit disagreed. Id. Relying on Suter, a then-recent Supreme Court opinion

that analyzed other subsections of § 671(a), the panel held that § 671(a)(10) does not create a

privately enforceable right. Id. at 739.

       Plaintiffs ignore White entirely, urging the Court to nevertheless find a privately

enforceable right under § 671(a)(10). (ECF No. 29 at 32–34.) The Court is not at liberty to do

so. United States v. Cobb, 274 F. Supp. 3d 390, 394 (S.D. W. Va. 2017) (“[A] district court is

bound by the precedent set by its Circuit Court of Appeals, until such precedent is overruled by

the appellate court or the United States Supreme Court.”). Plaintiffs offer no reason to believe


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that White is no longer good law. As such, the Court concludes that § 671(a)(10) does not create

a privately enforceable right.

         ii.     Section 671(a)(16)

         The Fourth Circuit’s jurisprudence on § 671(a)(16) is anything but cut-and-dry. The Court

first grappled with § 671(a)(16) in L.J. by and Through Darr v. Massinga, 838 F.2d 118 (4th Cir.

1988) (L.J. II). L.J. II involved a class action of children in Baltimore’s foster care system. Id.

at 119. The plaintiffs alleged the city’s poor administration of the foster care system resulted in

their abuse. Id. On appeal, the Baltimore defendants argued that §§ 671(a)(9), (10), and (16) of

the AACWA were not privately enforceable. 9                  Id. at 123.     The Fourth Circuit disagreed,

reasoning that “[t]aken together . . . these statutory provisions spell out a standard of conduct, and

as a corollary rights in plaintiffs, which plaintiffs have alleged have been denied.” Id. Thus, it

originally appeared that § 671(a)(16) was privately enforceable.

         Subsequent decisions soon began eroding L.J. II’s holding. In Suter, the Supreme Court

considered whether certain portions of the AACWA were privately enforceable. Suter, 503 U.S.

at 350–51. The Court spent the bulk of its analysis determining that § 671(a)(15) was not

privately enforceable, but its conclusion on § 671(a)(9) was equally clear—§ 671(a)(9) “does not

afford a cause of action.” Id. at 259 n.10. Then, in White, the Fourth Circuit further undermined

L.J. II when it held that “[§] 671(a)(10) does not create an enforceable right.” White, 112 F.3d at

739. Suter and White thus eliminated two of the three sections L.J. II relied on when it concluded

that §§ 671(a)(9), (10), and (16)—when “taken together”—create a privately enforceable right.

See L.J. II, 838 F.2d at 123.


9
 Section 671(a)(9) requires States to “report to an appropriate agency or official, known or suspected instances of
physical or mental injury, sexual abuse or exploitation, or negligent treatment or maltreatment of a child.”
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         The Fourth Circuit then revisited § 671(a)(16) in L.J. v. Wilbon, 633 F.3d 297 (4th Cir.

2011). This time, the Baltimore defendants tried to invalidate a consent decree they entered

following the L.J. II decision. Id. at 301–02. The Baltimore defendants attacked the consent

decree by arguing that Suter had overruled L.J. II, thereby eliminating any legal basis for the

consent decree. Id. at 308. This argument relied on dicta from Suter that suggested the States

need only “have a plan approved by the Secretary which contains the 16 listed features.” Suter,

503 U.S. at 358. So long as the States had cleared that low bar, the AACWA as a whole was not

privately enforceable. See id. There were only two problems. First, Congress rejected this

dicta following Suter. 42 U.S.C. 1320a-2 (rejecting the notion that a statute is “unenforceable

because of its inclusion in a section . . . requiring a State plan or specifying the required contents

of a State plan.”). 10 Second, the Court applied the “law of the case doctrine,” which requires prior

decisions to govern the same issues at all stages of the case, unless they had been overruled or

proven clearly wrong. Wilbon, 633 F.3d at 308. The Fourth Circuit thus rejected the Baltimore

defendants’ argument because they “failed to meet the[ir] burden of showing that . . . L.J. II ha[d]

been overruled by Suter.” Id. Notably, the Court did not reaffirm its prior holding in L.J II. The

Court instead made “clear [that it did] not [then] hold that § 671(a)(16) provides a private right of

action.” Id. at 312.

         The parties here dispute whether the Court is bound by L.J. II. Defendants argue that Suter

and White “clearly . . . abrogated” L.J. II such that it does not bind the Court. (ECF No. 18 at 29.)

Plaintiffs, on the other hand, contend that Wilbon’s refusal to hold that “L.J. II has been overruled




10
  Importantly, however, Congress did not “alter the holding in [Suter] that [§] 671(a)(15) . . . is not enforceable in a
private right of action.” Id.
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by Suter” compels the Court to apply L.J. II. (ECF No. 29 at 28.) Plaintiffs also claim that

Defendants are making “an identical argument” to the one Wilbon rejected. (Id. at 30.) Not so.

         Defendants’ position here is easily distinguishable from the Baltimore defendants in

Wilbon. As noted above, the Baltimore defendants argued that Suter overruled L.J. II when it said

that a plan need only satisfy § 671(a)’s 16 requirements. The Fourth Circuit, following Congress’

lead, rejected this argument. Here, Defendants are making a fundamentally different one: that

L.J. II does not bind the Court since Suter and White eliminated two of three provisions L.J. II

found, “taken together,” create a privately enforceable right. And that, coupled with the Fourth

Circuit making “clear [that the Court] do[es] not now hold that § 671(a)(16) provides a private

right of action,” Wilbon, 633 F.3d at 312, proves that L.J. II did not survive those later cases. The

Court agrees. Just as a milking stool cannot stand having lost two of its three legs, L.J. II’s

conclusion that § 671(a)(16) creates a privately enforceable right cannot stand in light of Suter and

White. 11 The Court must therefore start from scratch, determining for itself whether § 671(a)(16)

is privately enforceable.

         c. § 671(a)(16) is not privately enforceable

         “[U]nless Congress speak[s] with a clear voice, and manifests an unambiguous intent to

create individually enforceable rights, federal funding provisions provide no basis for private

enforcement by § 1983.” Hensley v. Koller, 722 F.3d 177, 181 (4th Cir. 2013) (alteration in

original) (quoting Gonzaga Univ. v. Doe, 536 U.S. 273, 280 (2002)). In Blessing v. Freestone,

520 U.S. 329 (1997), the Supreme Court articulated a three-factor test to determine whether



11
   This conclusion is only bolstered by Wilbon’s recognition that, rather than finding a right by cobbling different
sections together, courts must instead perform “a section-specific inquiry” to determine whether that particular section
is privately enforceable. Wilbon, 633 F.3d at 309.
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Congress unambiguously intended “a particular statutory provision [to create] a federal right”

privately enforceable under [] § 1983. Id. at 340. The Blessing test caused confusion in the

lower courts and, for a moment, established “a relatively loose standard for finding rights

enforceable by § 1983.” Gonzaga, 536 U.S. at 282. The Supreme Court promptly rejected this

laxed standard in Gonzaga when it held that nothing “short of an unambiguously conferred right”

can support a § 1983 claim. Id. at 283. Gonzaga instructs courts to analyze the “text and

structure of [the] statute” to discern whether “Congress intend[ed] to create new individual rights.”

Gonzaga, 536 U.S. at 286. When doing so, courts should consider whether the statute uses

“rights-creating language,” has an aggregate, rather than individual, focus, and whether Congress

provided a federal review mechanism. See id. at 287–88, 289–90.

       Plaintiffs here contend that § 671(a)(16)’s focus on “each child” unambiguously creates a

privately enforceable, one the Court should not render “illusory.” (ECF No. 29 at 29–30.)

Defendants, on the other hand, argue that § 671(a)(16) speaks in terms of institutional practices

and lacks rights-creating language, which precludes a finding of private enforceability. (ECF No.

18 at 24–25.)

       None of the three considerations Gonzaga used to determine whether Congress

unambiguously conferred a right weigh in Plaintiffs’ favor. First, § 671(a)(16) does not feature

the rights-creating language Congress typically uses when creating privately enforceable rights.

The Supreme Court has explained that rights-creating language focuses on “the individuals

protected” instead of “the person regulated.” Alexander v. Sandoval, 532 U.S. 275, 289 (2001).

Put differently, rights-creating language is “individually focused.” Gonzaga, 536 U.S. at 287.

Here, § 671(a)(16) clearly focuses on Defendants, who it regulates, rather than Plaintiffs, who


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stand to benefit. Section 671(a)(16) does nothing more than tell Defendants what their plan must

include before the Secretary can approve it. If Defendants’ plan “provides for the development

of a case plan” and “a case review system” for “each child” in West Virginia’s foster care system,

Defendants will receive federal funding. If not, they will not.

       Section 671(a)(16) stands in stark contrast to statutes that do use rights-creating language.

Take Title VI for instance. It provides that “[n]o person . . . shall, on the ground of race, color, or

national origin . . . be subjected to discrimination.” 42 U.S.C. § 2000d. Title IX uses near-

identical language: “No person . . . shall, on the basis of sex . . . be subjected to discrimination.”

20 U.S.C. § 1681(a). Congress could have easily written § 671(a)(16) in a similar fashion, using

an individual focus. Congress could have said, for example, that “each child shall have a case

plan and a case review system.” Such “individually focused terminology,” “phrased in terms of

the person[] benefitted,” would have shown congressional intent to create an individual right.

Gonzaga, 536 U.S. at 284, 287. But Congress chose not to focus on the individual. And since

Congress “knows how to . . . expressly” “create a private cause of action” when it wants, Carey v.

Throwe, 957 F.3d 468, 479 (4th Cir. 2020), § 671(a)(16)’s focus on the person regulated is telling.

       Plaintiffs resist this conclusion, arguing that § 671(a)(16)’s requirement of a case plan and

case review system for “each child” shows an unmistakable focus on the individual. (ECF No.

29 at 29.) Plaintiffs essentially ask the Court to read the phrase “each child” out of context, which

the Court cannot do. When interpreting statutes, the Court cannot “construe statutory phrases in

isolation.” United States v. Morton, 467 U.S. 822, 828 (1984). The Court must instead read the

statutory provision as a whole. Id. When the Court reads § 671(a)(16) as whole, as it did above,

there is but one conclusion: the statute focuses on the person regulated, not the individual


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benefited. Plaintiffs’ reading may very well hold water when done “in a vacuum,” Sturgeon v.

Frost, 577 U.S. 424, 438 (2016), but it becomes simply “untenable in light of [§ 671(a)(16)] as a

whole.” King v. Burwell, 576 U.S. 473, 497 (2015) (quoting Dep’t of Revenue of Or. v. ACF

Indus., Inc., 510 U.S. 332, 343 (1994)).

          Second, § 671(a)(16) focuses on the aggregate, not the individual. Statutes with an

“aggregate,” rather than individual, focus “cannot ‘give rise to individual rights.’” Gonzaga, 536

U.S. at 288 (quoting Blessing, 520 U.S. at 344). The tell-tale sign of a statute with an aggregate

focus is one that is “not concerned with ‘whether the needs of any particular person have been

satisfied.’” Id. at 288 (emphasis added) (quoting Blessing, 520 U.S. at 343). The Supreme Court

has twice dealt with statutes that, like § 671(a)(16), did not require perfect performance by the

States.    Neither conferred an individual right.      In Blessing, the statute at issue required

“substantial compliance.” Blessing, 520 U.S. at 335. The Blessing Court said that “[f]ar from

creating an individual entitlement to services, the [substantial compliance] standard is simply a

yardstick . . . to measure the systemwide performance.” Id. (emphasis in original). Likewise in

Gonzaga, the Court found that a similar “substantial compliance” requirement was concerned with

“polic[ies] and practice[s], not individual[s].” Gonzaga, 536 U.S. at 288. Section 671(a)(16) is

no different. While § 671(a)(16) imposes a clear obligation on Defendants, they need not comply

with it in every individual case—they need only substantially conform to § 671(a)(16) to receive

funding. 42 U.S.C. § 1320a-2a.         Put differently, so long as Defendants’ system—as an

aggregate—substantially complies with § 671(a)(16), the Secretary has no cause for concern. The

Court is therefore satisfied that § 671(a)(16) has an aggregate, rather than individual, focus.




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       Third, § 671(a)(16) provides a federal review mechanism to enforce its requirements,

which further cuts against private enforceability. Congress required the Secretary to promulgate

regulations to review AACWA programs implemented by the States. 42 U.S.C. § 1320a-2a. The

Secretary has done so. 45 C.F.R. §§ 1355.35(c)(4), 1355.36(b). This review mechanism, as

previously explained, exists to ensure substantial compliance. Should a State fail to substantially

comply, the Secretary withholds funding. This, too, is a night-and-day difference from the few

Spending Clause statutes the Supreme Court has concluded confer individual rights. See Wilder

v. Va. Hosp. Ass’n., 496 U.S. 498 (1990); Wright v. Roanoke Redevelopment & Housing Authority,

479 U.S. 418 (1987). In each case, the Court relied in large part on the fact that the statute lacked

sufficient means of enforcement. Wilder, 496 U.S. at 522–23; Wright, 479 U.S. at 426; see also

Gonzaga, 536 U.S. at 289–90 (noting that Congress’ decision to provide a federal review

mechanism “counsel[s] against . . . finding a congressional intent to create individually enforceable

private rights.”). But here, Congress enabled the Secretary to withhold federal funding, thereby

ensuring that § 671(a)(16) is anything but “a dead letter.” Suter, 503 U.S. at 360–01.

       Since Congress has not “spok[en] with a clear voice” and “manifest[ed] an ‘unambiguous’

intent to confer [an] individual right[],” Gonzaga, 536 U.S. at 280, the Court finds that § 671(a)(16)

is not privately enforceable. Defendants’ Motion to Dismiss Count III is GRANTED.

       D. Counts IV & V – Americans with Disabilities Act and Rehabilitation Act

       Plaintiffs’ Counts IV and V allege violations of the Americans with Disabilities Act and

the Rehabilitation Act, respectively. The parties address the two claims as one, and the Court

follows suit. See e.g., Halpern v. Wake Forest Univ. Health Scis., 669 F.3d 454, 461 (4th Cir.

2012) (construing “the ADA and Rehabilitation Act to impose similar requirements.”).


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         a. Governing Law

         Title II of the Americans with Disabilities Act provides that “no qualified individual with

a disability shall, by reason of such disability, be excluded from participation in or be denied the

benefits of the services, programs, or activities of a public entity, or be subjected to discrimination

by any such entity.” 12 42 U.S.C. § 12132. Section 504 of the Rehabilitation Act similarly

provides that “[n]o otherwise qualified individual with a disability . . . shall, solely by reason of

her or his disability, be excluded from the participation in, be denied the benefits of, or be subjected

to discrimination under any program” that receives federal funds. 13 29 U.S.C. § 794.

         Title II and § 504 do more than share similar language—they also impose similar

requirements. Halpern, 669 F.3d at 461. One such requirement is the “integration mandate.”

Public entities must “administer services, programs, and activities in the most integrated setting

appropriate to the needs of qualified individuals.” 28 C.F.R. § 35.130(d); see also 34 C.F.R. §

104.4(b)(2) (imposing a similar integration requirement). Federal regulations define the “most

integrated setting appropriate to the needs of [the] individual[]” as one that “enables individuals




12
   A “public entity” is defined as “any State or local government” or “any department, agency, special purpose district,
or other instrumentality of a State . . . or local government.” 42 U.S.C. § 12131(1)(A)–(B). Also, a “qualified
individual with a disability” “means an individual with a disability who, with or without reasonable modifications to
rules, policies, or practices, the removal of architectural, communication, or transportation barriers, or the provision
of auxiliary aids and services, meets the essential eligibility requirements for the receipt of services or the participation
in programs or activities provided by a public entity.” Id. § 12131(2). Defendants do not dispute that they are
covered by the ADA and Rehabilitation Act, nor do they challenge whether Plaintiffs are qualified individuals under
the statutes.
13
   The Fourth Circuit has interpreted these to require a three-part showing by litigants bringing Title II and
Rehabilitation Act claims. Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 498 (4th Cir.
2005). Plaintiffs must show that they (1) have a disability; (2) are otherwise qualified to receive the benefits of the
government program; and (3) were excluded from the program because of their disability. Id. Defendants concede
Plaintiffs meet the first two requirements, but argue Plaintiffs have not alleged discrimination on the basis of their
disabilities. (See ECF No. 29 at 31.) As such, the Court cabins its inquiry to whether Plaintiffs have alleged
disability-based discrimination. The Court also notes that Title II and § 504 have different causation standards,
Halpern, 669 F.3d at 461–62, but believes that this is a non-issue here, as Plaintiffs’ Complaint easily meets both
standards.
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with disabilities to interact with nondisabled persons to the fullest extent possible.” 28 C.F.R. pt.

35, app. B.    Public entities must also abide by the “reasonable modification” requirement.

“A public entity shall make reasonable modifications in policies, practices, or procedures when

the modifications are necessary to avoid discrimination on the basis of disability.” 28 C.F.R. §

35.130(b)(7)(i). This latter command has a caveat. A modification is not required if “the public

entity can demonstrate that making the modifications would fundamentally alter the nature of the

service, program, or activity.” Id.

       The Supreme Court interpreted these requirements in Olmstead v. L.C. ex rel. Zimring, 527

U.S. 581 (1999), where it held that the unnecessary institutionalization of individuals with mental

disabilities is discrimination under Title II. In Olmstead, the plaintiffs, two mentally disabled

women, were institutionalized for psychiatric treatment.       Id. at 593.    Their condition later

improved, but they remained institutionalized, despite being approved for treatment in community-

based settings.   Id.   The plaintiffs alleged that defendants’ “failure to place [them] in a

community-based program” violated the integration mandate, thus constituting discrimination

under Title II. Id. at 594. The defendants fought this, arguing that the plaintiffs had not been

discriminated against because “no similarly situated individuals [were] given preferential

treatment” in placement decisions. Id. at 598.

       The Court rejected the defendants’ narrow reading of Title II because “Congress had a

more comprehensive view . . . of discrimination” when it enacted the ADA. Id. at 598. Title II

is not, as the defendants believed, limited to only those instances of “uneven treatment [among]

similarly situated individuals.”        Id.    Title II instead encompasses the unjustified

institutionalization of the mentally disabled.     See id.   The Court reasoned that unjustified


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institutionalization creates “[d]issimilar treatment” because the mentally disabled must “relinquish

[their ability to] participat[e] in community life” “to receive needed medical services.” Id. at 601.

“[P]ersons without mental disabilities,” on the other hand, “can receive the medical services they

need without similar sacrifice.” Id. Title II thus requires public entities to provide individuals

with mental disabilities community-based treatment when appropriate. 14 Id. at 600.

        The integration mandate, however, is not an immediate, unyielding command. The Court

recognized that “States [may] resist modifications that entail a “fundamenta[l] alter[ation]” of the

States' services and programs.” Id. at 603 (some alterations in original). This “fundamental-

alteration” defense, the Court said, “allow[s] . . . State[s] to show that, in the allocation of available

resources, immediate relief for the plaintiffs would be inequitable” because of prior commitments

to the many other mentally disabled individuals to whom the State must provide care. Id. at 604.

This standard would be met, for instance, if a “State [could] demonstrate that it had a

comprehensive, effectively working plan for placing qualified persons with mental disabilities in

less restrictive settings, and a waiting list that moved at a reasonable pace.” Id. at 605–06. If so,

“court[s] would have no warrant” to bump “persons at the top of the community-based treatment

waiting list” in favor of “individuals lower down who commenced civil actions.” Id. at 606.

        b. Analysis

        Plaintiffs allege Defendants have discriminated against them in two ways.                          First,

Defendants offer “intensive mental health services” “almost exclusively in institutional settings

rather than in the community.” (ECF No. 1 at 78–79, ¶ 323.) This, in and of itself, Plaintiffs say


14
   When determining whether community-based care is appropriate for any particular individual, the Court held that
“State[s] generally may rely on the reasonable assessments of [their] own professionals in determining whether an
individual” should be placed in a community-based setting. Id. at 602. “Absent such [a finding], it would be
inappropriate to remove a patient from the more restrictive setting.” Id.
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is discriminatory because it results in Plaintiffs’ unnecessary institutionalization.       (See id.)

Second, Plaintiffs allege Defendants do not provide sufficient mental health services and disability

supports—in other words, reasonable accommodations—necessary for Plaintiffs to receive the full

benefits of the foster care system. (Id. at 77–79, ¶ 318–27.) Defendants launch a litany of attacks

at these claims.    First, Defendants say they never discriminated against Plaintiffs because

“shortcomings in the State’s community-based mental health care system” affect everyone equally.

(ECF No. 18 at 31–32.) Second, Defendants argue they are not required to “provide a certain

level of benefits” or services to Plaintiffs. (Id.) Third, Defendants claim that the integration

mandate is inapplicable here because the best-interest-of-the-child standard trumps federal law

when it comes to determining Plaintiffs’ placements. (Id. at 33.) Fourth, Defendants claim there

are no unjustified placements because “each and every placement has been approved by a state

circuit court as in the best interest of the child.” (Id. at 33–34.) Fifth, and finally, Defendants

say that even if the integration mandate does apply, they have a “‘comprehensive, effectively

working plan’ to ensure children with disabilities are placed in the least restrictive settings.” (Id.

at 34–38.) Defendants’ efforts fall flat.

       Olmstead rejected Defendants’ first argument. Discrimination under Title II is not limited

to the “uneven treatment of similarly situated individuals.” Olmstead, 527 U.S. at 598. Instead,

Title II discrimination includes the “unjustified institutional[ization]” of persons with mental

disabilities. Id. at 600. Defendants’ argument is thus beside the point: it does not matter that

everyone in their custody is needlessly institutionalized. Title II simply requires a showing that

Plaintiffs have been “unjustifi[ably] institutional[ized]” when a less restrictive placement would

have been appropriate. Id. at 598. The Complaint is riddled with these claims.


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       Defendants’ second argument rests on a faulty reading of Olmstead. Specifically, they

hone in on language from a footnote where the Court said that the ADA does not require states to

“provide a certain level of benefits to individuals with disabilities.” (ECF No. 18 at 32–33)

(quoting Olmstead, 527 U.S. at 603 n.14.) The very next sentence in that footnote, however, says,

“that States must adhere to the ADA's nondiscrimination requirement with regard to the services

they in fact provide.” Olmstead, 527 U.S. at 603 n.14. Defendants here offer a service—the

foster care system—to Plaintiffs.      And when offering this service, Defendants must make

reasonable modifications so that Plaintiffs can fully participate in it. Requiring Defendants to

provide Plaintiffs with mental health services and disability supports is entirely consistent with

this mandate—these services are necessary for Plaintiffs to participate in the foster care system,

and they are not entirely new, stand-alone programs. Compare Townsend v. Quasim, 328 F.3d

511 (9th Cir. 2003), with Rodriguez v. City of New York, 197 F.3d 611 (2d Cir. 1999).

       Defendants’ third argument is even less persuasive. Defendants claim that Plaintiffs are

putting Title II and § 504 “on a collision course with” child welfare jurisprudence by asking for

placements in less restrictive settings. (ECF No. 35 at 19.) This argument relies on a cherry-

picked reading of the integration mandate: that “plac[ing] all children with disabilities in the ‘most

integrated setting’ regardless of the individual circumstances of the case” would be contrary to the

child’s best interest.   (ECF No. 18 at 33.) Defendants conveniently ignore the integration

mandate’s qualifying language—“the most integrated setting appropriate to the needs of [the]

qualified individual[].” 28 C.F.R. § 35.130(d) (emphasis added). Nothing in this mandate

conflicts with the best-interest-of-the-child standard; the two exist in perfect harmony. The

integration mandate simply requires Defendants to make available “a range of facilities for the


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care and treatment of persons with diverse mental disabilities.” Olmstead, 527 U.S. at 597.

From this range of placement options, state court judges select the one they determine is in the

child’s best interest. See W. Va. Code § 49-4-608(e). The integration mandate does not, as

Defendants believe, force anyone to place Plaintiffs in “an inappropriate setting.” Olmstead, 527

U.S. at 605; see also 28 C.F.R. 35.130(e)(1) (allowing qualified individuals to decline benefits

conferred by the ADA). It merely requires Defendants to make available placements that would

truly be in the child’s best interest.

        Defendants’ fourth argument fares no better. Defendants claim that Plaintiffs have not

been unjustifiably institutionalized because “each and every placement has been approved by a

state circuit court as in the best interest of the child.” (ECF No. 18 at 33–34.) This turns a blind

eye to Plaintiffs’ allegations. The Complaint details a foster care system in utter disarray, where

institutionalization is the default.     (ECF No. 1 at 85, ¶ 352.)           This is not because

institutionalization is the answer to Plaintiff’s problems; Defendants have simply failed to create

in-home and community-based treatment settings. Thus, when placing Plaintiffs, state courts had

no choice but to institutionalize them. To the extent Defendants think these placements were in

any way “justified” under Olmstead, they are wrong.

        Defendants’ fifth and final argument is nothing more than a last-ditch effort to convince

the Court that they have the “comprehensive, effectively working plan” that Olmstead demands.

(ECF No. 18 at 34–38.) Maybe so, but that is a factual determination, which the Court cannot

make at the pleading stage. Matrix Cap. Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172,

176 (4th Cir. 2009). The Court’s current task is to determine whether the Complaint states a claim

for relief. Fed. R. Civ. P. 12(b)(6). The Complaint portrays a broken foster care system where


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children are “institutionalized and segregated from the outside world,” leaving them to languish

for years on end. (ECF No. 1 at 2, ¶ 2.) This is anything but a “comprehensive” and “effectively

working” plan. Olmstead, 527 U.S. at 605. Defendants’ Motion to Dismiss Counts IV and V is

DENIED.

                                        IV.     CONCLUSION

       For the foregoing reasons, Defendants’ Motion to Dismiss, (ECF No. 17), is GRANTED

in part and DENIED in part.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER:       January 13, 2023




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